                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                           Case No. 5:23-cv-00440-BO

                                                  )
     MXR IMAGING, INC.
                                                  )
                 Plaintiff(s),                    )
           v.                                     )
                                                  )
     EVOHEALTH LLC and STEVEN DEATON
                                                  )
                 Defendant(s).                    )

 DISCLOSURE OF CORPORATE AFFILIATIONS AND OTHER ENTITIES WITH A
DIRECT FINANCIAL INTEREST IN LITIGATION AND ATTRIBUTED CITIZENSHIP

Pursuant to Fed. R. Civ. P. 7.1 and Local Civil Rule 7.3, or Fed. R. Crim. P. 12.4 and Local
Criminal Rule 12.3,

______________________
 MXR Imaging, Inc.         who is ____________________,
                                  Plaintiff
(name of party/intervenor)          (plaintiff/defendant/other:__________)

makes the following disclosure:

1. Is the party/intervenor a publicly held corporation or other publicly held entity?

     YES                              NO

2.    Does the party/intervenor have any parent corporations?

     YES                              NO

If yes, identify all parent corporations, including grandparent and great-grandparent corporations:
N/A

3. Is 10% of more of the stock of the party/intervenor owned by a publicly held corporation or
   other publicly held entity?

     YES                              NO

If yes, identify all such owners:
N/A




           Case 5:23-cv-00440-BO-RJ Document 3 Filed 08/07/23 Page 1 of 2
4. Is there any other publicly held corporation or other publicly held entity that has a direct
   financial interest in the outcome of the litigation (Local Civil Rule 7.3 or Local Criminal 12.3)?

   YES                                NO

5. Is the party/intervenor a trade association?

   YES                                NO

If yes, identify all members of the association, their parent corporations, and any publicly held
companies that own 10% or more of a member’s stock:
N/A
6. If the case arises out of a bankruptcy proceeding, identify any trustee and the members of any
   creditor’s committee:
N/A
7. In a case based on diversity jurisdiction, the following is a list of every individual or entity
   whose citizenship is attributed to the party/intervenor:
    MXR Imaging, Inc.
   __________________________                         California
                                                      _________________________
   (Name of individual/entity)                              (State of citizenship)

   __________________________                         _________________________
   (Name of individual/entity)                              (State of citizenship)

   __________________________                         _________________________
   (Name of individual/entity)                              (State of citizenship)

   __________________________                         _________________________
   (Name of individual/entity)                              (State of citizenship)

   __________________________                         _________________________
   (Name of individual/entity)                              (State of citizenship)

   __________________________                         _________________________
   (Name of individual/entity)                              (State of citizenship)

   If there are additional individuals or entities who citizenship is attributed to the
   party/intervenor, please provide their names and states of citizenship on a separate piece of
   paper.


                                      Signature:____________________________________
                                                 Benjamin S. Morrell

                                      Date: ______________________________________
                                               08/07/2023


                                                  2

         Case 5:23-cv-00440-BO-RJ Document 3 Filed 08/07/23 Page 2 of 2
